            Case 5:17-cv-05402-EGS Document 25 Filed 05/02/18 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRISTIAN WERNER, KURT WERNER,                   :
and DONNA WERNER,                                :
                                                 :
                              Plaintiffs,        :          CIVIL ACTION NO. 17-5402
                                                 :
       v.                                        :
                                                 :
ALBRIGHT COLLEGE,                                :
                                                 :
                              Defendant.         :

                                            ORDER

       AND NOW, this 2nd day of May, 2018, after considering the motion to dismiss filed by

the defendant (Doc. No. 12), the response in opposition to the motion filed by the plaintiffs (Doc.

No. 19), and the reply in support of the motion filed by the defendant (Doc. No. 23), and the

complaint filed by the plaintiffs (Doc. No. 1); and after hearing oral argument from counsel for

the parties on May 1, 2018; accordingly, it is hereby ORDERED as follows:

       1.       The motion to dismiss (Doc. No. 12) is DENIED without prejudice to the issues

in the motion being raised in a motion for summary judgment; and

       2.       The defendant shall have a period of fourteen (14) days from the entry of this

order to file an answer to the complaint.



                                                     BY THE COURT:



                                                     /s/ Edward G. Smith
                                                     EDWARD G. SMITH, J.
